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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

Dr. Richard Carrier,

       Plaintiff,

       V.                                                  Case No. 2:16-cv-906

FreethoughtBlogs Network, et al.,                          Judge Michael H. Watson

       Defendants.                                         Magistrate Judge Deavers

                                             ORDER

       Defendants' motion to engage in discovery limited to the issue of personal

jurisdiction, EOF No. 23, is GRANTED. Additionally, given that the parties will engage in

additional discovery on the issue, the Court DENIES without prejudice Defendants'

pending motion to dismiss, EOF No. 10, which argues that this Court lacks personal

jurisdiction over Defendants. Defendants may re-fiie their motion upon completion of the

limited discovery.

       Upon completion of discovery, and prior to the re-filing of Defendants' motion to

dismiss, the parties shall file a joint notice as to whether each side believes that the Court

should hold an evidentiary hearing regarding personal jurisdiction. The notice shall not

exceed ten pages and shall set forth a brief explanation for each side's position.

       Magistrate Judge Elizabeth P. Deavers will hold a status conference and issue a

scheduling order setting forth the deadlines for completing the limited discovery, filing the

joint notice, and re-filing the motion to dismiss.

       IT IS SO ORDERED.




                                                      ICHAEL H. WATSON, JUDGE
                                                     UNITED STATES DISTRICT COURT
